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                              UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                                 Plaintiff,             )       8:06CR242
                                                        )
                        vs.                             )       FINAL ORDER OF
                                                        )       FORFEITURE
                                                        )
SHAWN BIGGS,                                            )
                                                        )
                                 Defendant.             )


        This matter is before the Court on the United States’ Motion for Final Order of Forfeiture

and Memorandum Brief (Filing No. 86). The Court reviews the record in this case and, being duly

advised in the premises, find as follows:

        1. On February 15, 2007, the Court entered a Preliminary Order of Forfeiture pursuant to

the provisions of Title 18, United States Code, Sections 922(g)(1), 924(d) and Title 28, United States

Code, 2461(c), 5872, based upon the Defendant's plea of guilty to Counts I, III and IV of the

Indictment filed herein. By way of said Preliminary Order of Forfeiture, the Defendant’s interest

in a 12 gauge shotgun and $2,050.00 in United States currency, was forfeited to the United States.

        2. On March 8, 15 and 22, 2007, the United States published in a newspaper of general

circulation notice of this forfeiture and of the intent of the United States to dispose of the properties

in accordance with the law, and further notifying all third parties of their right to petition the Court

within the stated period of time for a hearing to adjudicate the validity of their alleged legal

interest(s) in said properties. An Affidavit of Publication was filed herein on April 23, 2007 (Filing

No. 85).

        3. The Court has been advised by the United States that no Petitions have been filed. From

a review of the Court file, the Court finds that no Petitions have been filed.
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       IT IS ORDERED:

       A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 86) is hereby sustained.

       B. All right, title and interest in and to the subject properties, i.e., a 12 gauge shotgun and

$2,050.00 in United States currency, held by any person or entity, are hereby forever barred and

foreclosed.

       C. The subject properties, i.e., a 12 gauge shotgun and $2,050.00 in United States currency,

be, and the same hereby are, forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

properties in accordance with law.

       DATED this 10th day of May, 2007.

                                                      BY THE COURT:

                                                      s/ Laurie Smith Camp
                                                      United States District Court
